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                   EX. 153
                Case 1:11-cv-10230-MLW Document 401-152 Filed 07/23/18 Page 2 of 7
  Message

  From:         Lieff, Robert L. [RLIEFF@lchb.com]
  Sent:         8/28/2015 7:34:19 PM
  To:           Chiplock, Daniel P. [/O=LCHB/OU=FIRST ADMINISTRATIVE GROUP/CN=RECIPIENTS/CN=DCHIPLOCK]
  CC:           rlieff@lieff.com
  Subject:      RE: SST--Proposed Revision to Term Sheet for DOL Deal


  1.4% of $70    Million (if we're lucky)        or $1Million. That assumes 34.4% (also if we're lucky).

  From: chiplock, Daniel P.
  Sent: Friday, August 28, 2015 11:52 AM
  To: Lieff, Robert L.
  cc: 'rlieff@lieff.com'
  subject: RE: SST--Proposed Revision to Term sheet for DOL Deal

  Yes, it seems to result in our respective fees being a couple million dollars lower.             oh well.
  From: Lieff, Robert L.
  Sent: Friday, August 28, 2015 2:40 PM
  To: chiplock, Daniel P.
  cc: 'rlieff@lieff.com'; Lieff, Robert L.
  subject: FW: SST--Proposed Revision to Term sheet for DOL Deal

  Dan     If you take ERISA and Arkansas local off the top, you end up with the following:

  Labaton                                       34.4
  Thornton                                    25.8
  Lieff cabraser                           25.8
  ERISA                                                9.0
  Arkansas Local                              5.0
                                                             100.0
  This is still predicated on dividing the remaining 25/25.             Labaton and Thornton have not agreed to that
  as you can see from Garrett's email of 2:17pm EDT.

  Bob


  From: chiplock, Daniel P.
  Sent: Friday, August 28, 2015 11:12 AM
  To: 'sucharow, Lawrence'
  cc: Garrett J. Bradley; Michael Thornton; Lieff, Robert L.
  subject: RE: SST--Proposed Revision to Term sheet for DOL Deal

  Actually one wrinkle I'm         not sure about is how ERISA and local Arkansas counsel fits in - I had thought
  that their payments would        not come off the top and therefore would not result in a reduction of each
  customer firm's 20% - do         you know what I mean? You may be saying something different from that below,
  which may be why it'd be         useful to iron it out.

  From: sucharow, Lawrence [mailto:LSucharow@labaton.com]
  Sent: Friday, August 28, 2015 1:59 PM
  To: chiplock, Daniel P.
  cc: Garrett J. Bradley; Michael Thornton; Lieff, Robert L.
  subject: Re: SST--Proposed Revision to Term sheet for DOL Deal
  Dan sorry for that last email that I didn't spellcheck.
  Basically what I'm trying to say is I understand the basic agreement to be that after payment of all
  other counsel, our three firms shall each receive 20%, with the distribution of the balance of 40% to be
  determined later.

  If that is the agreement you are referring to, I can confirm it. Let me know.
  Larry
  Sent from my iPhone

  On Aug 28, 2015, at 1:39 PM, Chiplock, Daniel P. <DCHIPLOCK@lchb.com<mailto:DCHIPLOCK@lchb.com>> wrote:




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  Mike, Garrett   Hope you' re well   please see below.    If we can figure this out early next week that may
  help speed the process.

  Thanks,
  Dan
  From: chiplock, Daniel P.
  Sent: Friday, August 28, 2015 1:33 PM
  To: 'sucharow, Lawrence'
  cc: Zeiss, Nicole; Lieff, Robert L.
  subject: RE: SST--Proposed Revision to Term sheet for DOL Deal

  The purpose of my email was just to get your reaction, Larry, since these are your drafts. Thank you for
  responding quickly, and for giving me your reaction. I would love to include them so we can move forward
  promptly. I' 77 re-send.

  From: sucharow, Lawrence [mailto:LSucharow@labaton.com]
  Sent: Friday, August 28, 2015 1:28 PM
  To: chiplock, Daniel P.
  cc: Zeiss, Nicole; Lieff, Robert L.
  subject: Re: SST--Proposed Revision to Term sheet for DOL Deal
  I don't know why you left the Thornton firm off this email since they are party to any understanding we
  have and are therefore he sensual to any memorialization of that understanding. If you more willing to
  resend your email and include them,we can see if there is any disagreement as to what our understanding
  is/was.
  Larry

  Sent from my iPhone
  On Aug 28, 2015, at 1:10 PM, Chiplock, Daniel P. <DCHIPLOCK@lchb.com<mailto:DCHIPLOCK@lchb.com>> wrote:
  Larry and Nicole:
  Attached are my redlines to the preliminary approval order and final judgment. These edits are
  consistent with the court's January 2012 order concerning leadership structure.

  I'm emailing just you (and copying Bob) so as to try not to make a big thing over this, but I do think
  it' s appropriate to memorialize what the fee allocation amongst customer class counsel is going to be
  (consistent with the understanding that the firms have been operating under for a couple years now)
  before we proceed much further.   I think we' d be willing to support Lead counsel having final authority
  over fee and expense allocations, etc., for purposes of the settlement stip, and thus present a united
  front against a perpetual troublemaker like McTigue-which should be in everyone's interest--provided we
  had some basic written comfort ourselves. I don' t think it' s too early for that, given the interest in
  seeing the funds come in this year.

  Thanks,
  Dan
  From: Zeiss, Nicole [mailto:NZeiss@labaton.com]
  Sent: Friday, August 28, 2015 9:53 AM
  To: chiplock, Daniel P.
  subject: RE: SST--Proposed Revision to Term sheet for DOL Deal
  Thank you!




  <image001.jpg><http://labaton.com/>
  Nicole M. Zeiss I Partner
  140 Broadway, New York, New York 10005
  T: (212) 907-0867 I F: (212) 883-7067
  E: nzeiss@labaton.com<mailto:nzeiss@labaton.com>        w:   www.labaton.com<http://www.labaton.com/>

  <image002.gif><http://www.linkedin.com/company/labaton-sucharow-llp>
  <image003.gif><https://twitter.com/Labatonsucharow>
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  From: Chiplock, Daniel P. [mailto:DCHIPLOCK@lchb.com]
  Sent: Friday, August 28, 2015 9:29 AM
  To: sucharow, Lawrence
  cc: Zeiss, Nicole; Lynn Sarko; rlieff@lieff.com<mailto:rlieff@lieff.com>; Michael Thornton; Garrett J.
  Bradley; Michael Lesser; Evan Hoffman; Kravitz, Carl s.; Brian McTigue; Rogers, Michael H.; Goldsmith,
  David
  subject: RE: SST--Proposed Revision to Term sheet for DOL Deal

  OK, sounds good.   I will also get you whatever edits I have to the settlement docs by noon.
  From: sucharow, Lawrence [mailto:LSucharow@labaton.com]
  Sent: Friday, August 28, 2015 9:28 AM
  To: chiplock, Daniel P.
  cc: Zeiss, Nicole; Lynn Sarko; rlieff@lieff.com<mailto:rlieff@lieff.com>; Michael Thornton; Garrett J.
  Bradley; Michael Lesser; Evan Hoffman; Kravitz, Carl s.; Brian McTigue; Rogers, Michael H.; Goldsmith,
  David
  subject: Re: SST--Proposed Revision to Term sheet for DOL Deal
  I am speaking to Paine today at around 10 AM to both report to him and get his update.
  I'll report back and advise whether we should send the revised term sheet. I expect we should but let's
  hold off for another hour.
  Sent from my iPhone
  On Aug 28, 2015, at 9:19 AM, Chiplock, Daniel P. <DCHIPLOCK@lchb.com<mailto:DCHIPLOCK@lchb.com>> wrote:
  This looks OK to me, thanks. I'm happy to send it (after you've done the other redline) to Paine, if
  you like. or someone else can, no matter.
  From: Zeiss, Nicole [mailto:NZeiss@labaton.com]
  Sent: Thursday, August 27, 2015 3:27 PM
  To: Lynn Sarko; 'rlieff@lieff.com<mailto:rlieff@lieff.com>'; chiplock, Daniel P.; Michael Thornton;
  Garrett J. Bradley; Michael Lesser; 'Evan Hoffman'; 'Kravitz, Carl s.'; 'Brian McTigue'
  cc: Rogers, Michael H.; sucharow, Lawrence; Goldsmith, David
  subject: RE: SST--Proposed Revision to Term sheet for DOL Deal

  Dear all,

  We' ve had some addi ti ona l exchanges about the term sheet and, speci fi ca 77 y, para 8 (n). I believe the
  attached draft resolves those issues and that there is consensus that the attached accurately reflects
  the basic DOL fee deal. If you disagree, please let us know asap.
  When someone wants to send this to Paine, or the DOL, I will need a run a different redline for them.
  Thanks




  <image001.jpg><http://labaton.com/>
  Nicole M. Zeiss I Partner
  140 Broadway, New York, New York 10005
  T: (212) 907-0867 I F: (212) 883-7067
  E: nzeiss@labaton.com<mailto:nzeiss@labaton.com>        w:   www.labaton.com<http://www.labaton.com/>

  <image002.jpg><http://www.linkedin.com/company/labaton-sucharow-llp>
  <image003.jpg><https://twitter.com/Labatonsucharow>
  <image004.jpg><https://www.facebook.com/pages/Labaton-sucharow-LLP/443111702425065>

  From: Zeiss, Nicole
  Sent: Wednesday, August 26, 2015 5:09 PM
  To: sucharow, Lawrence; Lynn Sarko; Goldsmith, David; 'rlieff@lieff.com<mailto:rlieff@lieff.com>'; Daniel
  P. chiplock; Michael Thornton; Garrett J. Bradley; Michael Lesser; 'Evan Hoffman'; 'Kravitz, Carl s.';
  'Brian McTigue'
  cc: Rogers, Michael H.
  subject: RE: SST--Proposed Revision to Term sheet for DOL Deal
  Attached is the term sheet showing the changes discussed below, plus one additional change to para 8(n)
  that might help.




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               Case 1:11-cv-10230-MLW Document 401-152 Filed 07/23/18 Page 5 of 7
  Thanks




  <image005.jpg><http://labaton.com/>
  Nicole M. Zeiss I Partner
  140 Broadway, New York, New York 10005
  T: (212) 907-0867 I F: (212) 883-7067
  E: nzeiss@labaton.com<mailto:nzeiss@labaton.com>     w:   www.labaton.com<http://www.labaton.com/>
  <image006.jpg><http://www.linkedin.com/company/labaton-sucharow-llp>
  <image007.jpg><https://twitter.com/Labatonsucharow>
  <image008.jpg><https://www.facebook.com/pages/Labaton-sucharow-LLP/443111702425065>
  From: sucharow, Lawrence
  Sent: Wednesday, August 26, 2015 4:34 PM
  To: Lynn Sarko; Goldsmith, David; 'rlieff@lieff.com<mailto:rlieff@lieff.com>'; Daniel P. chiplock;
  Michael Thornton; Garrett J. Bradley; Michael Lesser; 'Evan Hoffman'; 'Kravitz, Carl s.'; 'Brian McTigue'
  cc: Zeiss, Nicole; Rogers, Michael H.
  subject: RE: SST--Proposed Revision to Term sheet for DOL Deal
  Then we can probably forget my proposed changes.
  From: Lynn Sarko [mailto:lsarko@KellerRohrback.com]
  Sent: Wednesday, August 26, 2015 4:26 PM
  To: sucharow, Lawrence; Goldsmith, David; 'rlieff@lieff.com<mailto:rlieff@lieff.com>'; Daniel P.
  chiplock; Michael Thornton; Garrett J. Bradley; Michael Lesser; 'Evan Hoffman'; 'Kravitz, Carls.';
  'Brian McTigue'
  cc: Zeiss, Nicole; Rogers, Michael H.
  subject: RE: SST--Proposed Revision to Term sheet for DOL Deal

  sure.    If it works for them   its fine with me

  Lynn Lincoln Sarko
  Managing Partner
  Keller Rohrback L.L.P.
  1201 Third Avenue, suite 3200
  Seattle, WA 98101
  Phone: (206) 62 3-1900
  Fax: (206) 623-3384
  E-mail: lsarko@kellerrohrback.com<mailto:lsarko@kellerrohrback.com>
  From: sucharow, Lawrence [mailto:LSucharow@labaton.com]
  Sent: Wednesday, August 26, 2015 1:25 PM
  To: Lynn Sarko <lsarko@KellerRohrback.com<mailto:lsarko@KellerRohrback.com>>; Goldsmith, David
  <dgoldsmith@labaton.com<mailto:dgoldsmith@labaton.com>>; 'rlieff@lieff.com<mailto:rlieff@lieff.com>'
  <rlieff@lieff.com<mailto:rlieff@lieff.com>>; Daniel P. chiplock
  <DCHIPLOCK@lchb.com<mailto:DCHIPLOCK@lchb.com>>; Michael Thornton
  <MThornton@tenlaw.com<mailto:MThornton@tenlaw.com>>; Garrett J. Bradley
  <gbradley@tenlaw.com<mailto:gbradley@tenlaw.com>>; Michael Lesser
  <MLesser@tenlaw.com<mailto:MLesser@tenlaw.com>>; 'Evan Hoffman'
  <EHoffman@tenlaw.com<mailto:EHoffman@tenlaw.com>>; 'Kravitz, Carl s.'
  <ckravitz@zuckerman.com<mailto:ckravitz@zuckerman.com>>; 'Brian McTigue'
  <bmctigue@mctiguelaw.com<mailto:bmctigue@mctiguelaw.com>>
  cc: Zeiss, Nicole <NZeiss@labaton.com<mailto:NZeiss@labaton.com>>; Rogers, Michael H.
  <MRogers@labaton.com<mailto:MRogers@labaton.com>>
  subject: RE: SST--Proposed Revision to Term sheet for DOL Deal
  can we leave para 8(n) the general way it is and protect the DOL through the express provision of para 12
  limiting fees charged to ERISA allocation to $10.9 million?
  From: Lynn Sarko [mailto:lsarko@KellerRohrback.com]
  Sent: Wednesday, August 26, 2015 3:42 PM
  To: Goldsmith, David; 'rlieff@lieff.com<mailto:rlieff@lieff.com>'; Daniel P. chiplock; Michael Thornton;
  Garrett J. Bradley; Michael Lesser; 'Evan Hoffman'; 'Kravitz, Carls.'; 'Brian McTigue'
  cc: sucharow, Lawrence; Zeiss, Nicole; Rogers, Michael H.
  subject: RE: SST--Proposed Revision to Term sheet for DOL Deal




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  David
  Thanks for sending this.   Sorry, I had misunderstood what you were saying on our call earlier today.
  Two things:

  1. I do think the language you proposed for paragraph 12 works-but just change it to $10.9 million.
  2. on paragraph 8(n)- the problem is the word "fees" -since the DOL has given us a hard number for ERISA
  fees-that won't be going up or down.    so-question-can we get rid of the word "fees" in this paragraph-
  does it still work?

  what do you think??
  Lynn
  Lynn Lincoln Sarko
  Managing Partner

  Keller Rohrback L.L.P.
  1201 Third Avenue, suite 3200
  Seattle, WA 98101

  Phone: (206) 62 3-1900
  Fax: (206) 623-3384
  E-mail: lsarko@kellerrohrback.com<mailto:lsarko@kellerrohrback.com>
  From: Goldsmith, David [mailto:dgoldsmith@labaton.com]
  Sent: Wednesday, August 19, 2015 2:59 PM
  To: 'rlieff@lieff.com<mailto:rlieff@lieff.com>' <rlieff@lieff.com<mailto:rlieff@lieff.com>>; Daniel P.
  Chiplock <DCHIPLOCK@lchb.com<mailto:DCHIPLOCK@lchb.com>>; Michael Thornton
  <MThornton@tenlaw.com<mailto:MThornton@tenlaw.com>>; Garrett J. Bradley
  <gbradley@tenlaw.com<mailto:gbradley@tenlaw.com>>; Michael Lesser
  <MLesser@tenlaw.com<mailto:MLesser@tenlaw.com>>; 'Evan Hoffman'
  <EHoffman@tenlaw.com<mailto:EHoffman@tenlaw.com>>; Lynn Sarko
  <lsarko@KellerRohrback.com<mailto:lsarko@KellerRohrback.com>>; 'Kravitz, Carl s.'
  <ckravitz@zuckerman.com<mailto:ckravitz@zuckerman.com>>; 'Brian McTigue'
  <bmctigue@mctiguelaw.com<mailto:bmctigue@mctiguelaw.com>>
  cc: sucharow, Lawrence <LSucharow@labaton.com<mailto:LSucharow@labaton.com>>; Zeiss, Nicole
  <NZeiss@labaton.com<mailto:NZeiss@labaton.com>>; Rogers, Michael H.
  <MRogers@labaton.com<mailto:MRogers@labaton.com>>
  subject: SST--Proposed Revision to Term sheet for DOL Deal
  All: The below reflects our proposed revisions to the Term sheet (in red boldface) to reflect the
  imminent deal with the DOL on fees and expenses as certain of us discussed this morning (DOL has advised
  that they want the deal memorialized in the Term sheet). Please comment. Thanks.

  8(n).        Plan of Allocation . . . . The amount allocated to the ERISA Plans and Investment Companies
  and other Settlement class Members shall be increased or decreased by their proportional share (with
  respect to the class Settlement Amount) of any interest, costs (including costs of notice and
  administration), expenses (including taxes), and fees and expenses of Plaintiffs' counsel obtained or
  paid pursuant to permission of the court. However, notice and administration expenses attributable
  solely to the claims of class Members categorized as Group Trusts shall be paid solely out of the ERISA
  allocation, and the cost of any ERISA Independent Fiduciary shall be borne solely by SSBT and shall not
  be paid out of the class Settlement Amount.

  12.          Plaintiffs' counsel's Attorneys' Fees and Expenses.          Plaintiffs' counsel's attorneys
     fees and expenses, as awarded by the court, shall be paid from the class Escrow Account immediately
  upon award by the court into an escrow account governed by an escrow agreement between Interim Lead
  counsel, SSBT and a bank or other institution agreed upon by SSBT and Interim Lead counsel (the "Interim
  Lead counsel Escrow Account"), notwithstanding any appeals of the Settlement or the fee and expense
  award. Plaintiffs' counsel shall may apply for their fees and expenses and any service awards for
  Plaintiffs against the entire class Settlement Amount, but in no event shall more than Ten Million Nine
  Hundred Thousand Dollars ($10,900,000.00) in fees be paid out of the $60 million portion of the class
  Settlement Amount allocated to ERISA Plans, as referenced in Paragraph 8(n) above. In the event that the
  Effective Date does not occur or SSBT promptly provides written notice representing in good faith that
  the Effective Date has not and cannot occur due to developments with the DOJ Settlement, DOL Settlement,
  and/or SEC Settlement and explaining the grounds for the notice, Plaintiffs' counsel severally shall be
  obliged to pay to SSBT all amounts paid to them from the Interim Lead counsel Escrow Account within
  fourteen (14) business days. The prevailing party in any action to collect any amount due under this




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  paragraph shall be entitled to recover interest and all of its costs of collection, including attorneys'
  fees. should the fee and expense award be reduced by the court or on appeal, all such fees and expenses
  received by Plaintiffs' counsel in excess of those that are ultimately approved shall be repaid to the
  class Escrow Account, along with interest at the class Escrow Account rate of interest.




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  <image006.jpg><https://twitter.com/Labatonsucharow>
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